
698 S.E.2d 397 (2010)
HARBOUR POINT HOMEOWNERS' ASSOCIATION, INC., by and through its Board of Directors, individually and in its representative capacity on behalf of its members, Plaintiff,
v.
DJF ENTERPRISES, INC., Forrest Development Company, Inc., Davy Group Construction, Inc., Wrangell Homes, Inc., HPPI Investments, LLC, Coastal Roofing Company, Inc., Georgia-Pacific Corporation, and Craftmaster Manufacturing, Inc., Defendants.
No. 61P10.
Supreme Court of North Carolina.
June 16, 2010.
Richard W. Ellis, Andrew S. Chamberlin, Greensboro, Robert L. Burchette, Charlotte, for Georgia-Pacific.
Christopher K. Behm, Wilmington, for Harbour Point Homeowners.
John L. Coble, Wilmington, for DJF Enterprises, Inc.
Stephen C. Lawrence, for Coastal Roofing Company, Inc.
H. Mark Hamlet, Wilmington, Thomas G. Nance, Charlotte, for Forrest Development/Davy Group.
Thomas S. Babel, Wilmington, for Craftmaster Manufacturing, Inc.
Dawn M. Canty, Chicago, IL, for Craftmaster Manufacturing, Inc.
James B. Stephenson, II, Cary, for HPPI Investments, LLC.
Walt Rapp, Wilmington, for Wrangell Homes, Inc.
Prior report: ___ N.C.App. ___, 688 S.E.2d 47.

ORDER
Upon consideration of the petition filed on the 9th of February 2010 by Defendant (Georgia Pacific Corp.) in this matter for discretionary review of the decision of the North Carolina Court of Appeals pursuant to G.S. 7A-31, the following order was entered and is hereby certified to the North Carolina Court of Appeals:
"Denied by order of the Court in conference, this the 16th of June 2010."
